             Case MDL No. 3089 Document 34-1 Filed 10/03/23 Page 1 of 1




                       BEFORE THE UNITED STATES JUDICIAL PANEL
                             ON MUTIDISTRICT LITIGATION

      IN RE: ORAL PHENYLEPHRINE                   MDL DOCKET NO: 3089
      MARKETING AND SALES PRACTICES
      LITIGATION




                       SCHEDULE OF POTENTIAL TAG-ALONG ACTION

No.       Plaintiffs        Defendants          District         Civil Action           Judge
                                               (Division)            No.
 1.     Michelle          Bayer Healthcare Eastern District of 2:23-cv-03783     Judge Kai N.
        Kasparie and      LLC, et al.      Pennsylvania                          Scott
        Kimberly James

Dated: October 3, 2023                            Respectfully submitted,
                                                  /s/ Stephen R. Basser
                                                  Stephen R. Basser
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                                                  James
